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      EXHIBIT 2
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                                                                                        USO10964987B2


( 12 ) United States Patent                                              ( 10 ) Patent No.: US 10,964,987 B2
         Yi et al .                                                      (45 ) Date of Patent :  Mar. 30 , 2021
( 54 ) SEPARATOR AND ENERGY STORAGE                                 ( 58 ) Field of Classification Search
          DEVICE                                                           None
                                                                           See application file for complete search history.
( 71 ) Applicant: Ningde Amperex Technology Limited ,
                  Fujian (CN)                                       (56 )                 References Cited
( 72 ) Inventors: Jianjian Yi, Fujian ( CN) ; Xinzhi                               U.S. PATENT DOCUMENTS
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                  Fujian ( CN ) ; Xinghua Tao, Fujian ( CN )         2018/0123107 A1 * 5/2018 Yu
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                                                                                                                      HO1M 4/505
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( 73 ) Assignee: Ningde Amperex Technology Limited,                  2019/0355953 Al * 11/2019 Nam                   HO1M 2/1686
                      Ningde ( CN )
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( * ) Notice :        Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35       CN               1882436 A      12/2006
                      U.S.C. 154 ( b ) by 79 days.                  CN             103155217 A       6/2013
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( 21 ) Appl . No .: 16 /013,887                                     CN            205004376 U        1/2016
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(22 ) Filed :       Jun . 20 , 2018
                                                                    Primary Examiner Osei K Amponsah
( 65 )                Prior Publication Data                        (74 ) Attorney, Agent, or Firm — Taylor English Duma
          US 2019/0319243 A1                                        LLP
                                 Oct. 17 , 2019
( 30 )           Foreign Application Priority Data                  ( 57 )                  ABSTRACT
                                                                    The application provides a separator and an energy storage
    Apr. 11 , 2018 ( CN )                       201810321779.5      device. The separator comprises: a porous substrate ; and a
                                                                    porous layer arranged on a surface of the porous substrate ,
( 51 ) Int . Cl .                                                   wherein the porous layer comprises inorganic particles and
         HOIM 2/16                ( 2006.01 )                       a binder, and a ratio of Dv90 of the inorganic particles to the
         HOIM 2/14                ( 2006.01 )                       thickness of the porous layer is in a range from 0.3 to 3.0 .
         HOIM 50/449              ( 2021.01 )                       Excellent adhesion exists between the separator and the
         HOIM 10/0525             ( 2010.01 )                       electrode according to the present application, which
         HOIM 50/403              ( 2021.01 )                       ensures that the energy storage device has good safety
         HOIM 50/411              ( 2021.01 )                       performance. Moreover, the rate performance and cycle
      HOIM 50/446                 ( 2021.01 )                       performance of the energy storage device can be greatly
(52 ) U.S. Ci .                                                     improved due to the existence of inorganic particles in the
      CPC         HOLM 50/449 (2021.01 ) ; HOTM 10/0525             separator.
                (2013.01 ) ; HOIM 50/403 (2021.01 ) ; HOLM
                 50/411 (2021.01 ) ; HOTM 50/446 (2021.01 )                        17 Claims , 2 Drawing Sheets
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     T


                                   FIG.1




                                   FIG.2
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     Fina
                                   FIG.3




                                   FIG.4
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                              1                                                                   2
       SEPARATOR AND ENERGY STORAGE                           In the above - described separator, the inorganic particles
                  DEVICE                                   are one or more selected from the group consisting of
                                                           alumina , silica , magnesia, titanium oxide , hafnium dioxide,
         CROSS REFERENCES TO RELATED                       tin oxide , zirconia , cerium dioxide, nickel oxide, zinc oxide ,
                    APPLICATIONS                         5 calcium oxide , boehmite, aluminum hydroxide, magnesium
                                                           hydroxide, calcium hydroxide, and barium sulfate .
  This application claims the benefit of Chinese Patent more  In the above - described separator, the binder is one or
Application No. 201810321779.5 filed on Apr. 11 , 2018 . fluorideselected   from the group consisting of polyvinylidene
                                                                   , vinylidene fluoride-hexafluoropropylene copoly
The entire contents of the above application are hereby 10 mer, polyamide    , polyacrylonitrile, polyacrylate, polyacrylic
incorporated by reference in their entirety.
                                                           acid, polyacrylates, sodium carboxymethylcellulose, poly
             FIELD OF THE APPLICATION                      vinylpyrrolidone, polyvinyl ether, polymethyl methacrylate,
                                                           polytetrafluoroethylene and polyhexafluoropropylene.
  The application relates to the field of energy storage      An energy storage device is further provided according to
devices, and in particular, to a separator and an energy 15 the present application , which comprises the above -de
storage device.                                                     scribed separator.
                                                                      In the above - described energy storage device , the energy
        BACKGROUND OF THE APPLICATION                               storage device is a lithium - ion battery.
                                                                      A method for preparing a separator is further provided
   Non -aqueous secondary batteries , particularly lithium - ion 20 according to the present application, the method comprising
batteries, are widely used in portable electronic devices such the steps of:
as notebook computers, digital cameras, camcorders, and                 mixing inorganic particles with a binder to generate a
cellphones , due to their high energy density and good rate mixture , and adding a first solvent into the mixture and
performance. In recent years, the application of lithium - ion stirring the mixture with the first solvent to obtain an
batteries as the power supply for electrical vehicles, is also 25 uniform coating solution; coating the uniform coating solu
promoting the development of lithium - ion battery technol- tion onto a surface of a porous substrate to form a wet film ;
ogy. In the cycle process of the lithium - ion battery, with the immersing the wet film into a coagulating solution for phase
progress of charging and discharging, there will be a gap transformation , and drying the phase - transformed wet film
between the electrode and the separator, resulting in a to obtain the separator.
reduction of the cycle capacity of the lithium - ion battery and 30 In the above -described method, the solid content in the
thereby having an influence on its service life. Therefore , coating solution is in a range of 7 % to 25 % .
there is an urgent need for a technical solution to solve the           In the above-described method , the coagulating solution
problem of the gap between the separator and the electrode comprises a second solvent and a third lvent, and the
so as to improve the service life of the lithium -ion battery. 35 second solvent has a mass percentage of 20 % to 60 % .
                                                                        In the above -described method, the first solvent is one or
             SUMMARY OF THE APPLICATION                              more independently selected from the group consisting of
                                                                     N -methylpyrrolidone ( NMP ) , dimethylacetamide (DMAC )
   A separator and an energy storage device are provided and dimethylformamide ( DMF ) .
according to the present application . With the separator               In the above - described method , the porous substrate com
provided by the application , not only the problem of the gap 40 prises a polymer film , a multilayer polymer film , or a
between the separator and the electrode can be solved , but non - woven fabric formed of any one or more of the follow
also excellent adhesive force between the separator and the ing polymers : polyethylene, polypropylene, polyethylene
electrode can be maintained ; moreover , the rate performance terephthalate, polyphthaloyl diamine, polybutylene tereph
and cycle performance of the energy storage device can be thalate , polyester, polyacetal , polyamide, polyimide,
improved due to the pore structures maintained in the 45 polyetheretherketone, polyaryletherketone, polyetherimide,
separator of the application .                                       polyamide imide , polybenzimidazole , polyethersulfone,
   A separator is provided according to an example of the polyphenylene oxide, cycloolefin copolymer, polyphenylene
present application. The separator comprises: a porous sub- sulfide, and polyethylene naphthalene.
strate ; and a porous layer arranged on a surface of theporous          In the above -described method , the polyethylene is at
substrate, wherein the porous layer comprises inorganic 50 least one component selected from the group consisting of
particles and a binder, and a ratio of Dv90 of the inorganic high density polyethylene, low density polyethylene, and
particles to the thickness of the porous layer is in a range of ultrahigh molecular weight polyethylene.
0.3 to 3.0 . The Dv90 of the inorganic particles refers to a            In the above -described method, the second solvent is one
particle size which reaches 90 % the cumulative volume or more independently selected from the group consisting of
from the side of small particle size in the granularity 55 N -methylpyrrolidone, dimethylacetamide and dimethylfor
distribution on a volume basis .                                     mamide , and the third solvent is one or more selected from
   In the above -described separator, the porous layer has a the group consisting of deionized water, ethanol, propanol ,
thickness of 0.2 um to 10 um .                                       acetone , dimethyl carbonate and diethyl carbonate.
   In the above - described separator, the porous layer has             An excellent adhesion exists between the separator and
pores formed by the binder, and the inorganic particles are 60 the electrode according to the present application, thus
distributed in the pores.                                            ensuring that the energy storage device has good safety
   In the above- described separator, the pores have an aver- performance . Moreover, the porous layer is arranged on a
age pore size of 0.3 um to 20 um .                                   surface of the separator, and the inorganic particles con
   In the above -described separator, the volume ratio of the tained in the pores in the porous layer can serve to support
inorganic particles to the binder is in a range from 0.2 to 3.0 . 65 the pores , and therefore the pores can be well protected from
   In the above -described separator, the porous layer has a being destroyed. As such , the probability of pore blockage
porosity of 20% to 90% .                                             due to compression and swelling in the separator is reduced,
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the separator would exhibit high ionic conductivity, and the        ride -hexafluoropropylene copolymer, polyamide, polyacry
rate performance and cycle performance of the energy                lonitrile, polyacrylate , polyacrylic acid , polyacrylates ,
storage device are greatly improved.                                sodium carboxymethylcellulose, polyvinylpyrrolidone,
                                                                    polyvinyl ether, polymethyl methacrylate, polytetrafluoro
               BRIEF DESCRIPTION OF THE                           5 ethylene and polyhexafluoropropylene. The binder can pro
               ACCOMPANYING DRAWINGS                                vide a sufficient binding interface for the electrode, thus
                                                                    ensuring a high adhesive force between the separator and the
   FIG . 1 is an electronic microscope image ( 3000 times electrode , and enabling the energy storage device ( such as a
magnification ) of pores of the lower surface of the porous lithium - ion battery ) to have a high safety performance.
layer ( i.e. , the surface of the porous layer that is away from 10 The pores in the porous layer allow the separator to have
the porous substrate ) in example 3 ;                               good electrolyte diffusion and absorption capabilities ,
   FIG . 2 is an electronic microscope image ( 10,000 times improving the ionic conductivity of the separator, and
magnification ) of the cross section of the porous layer in the thereby improving the rate performance of the energy stor
thickness direction in example 3 ;                                  age device ( such as a lithium -ion battery ). The average pore
   FIG . 3 is an electronic microscope image (3000 times 15 the     sizeseparator
                                                                         of the porous  layer is not less than 0.3 um , which makes
                                                                                   have good electrolyte diffusion and absorption
magnification ) of pores of the lower surface of the porous
layer ( i.e. , the surface of the porous layer that is away from capabilities, improves the ionic conductivity of the separa
the porous substrate ) in comparative example 2 ; and               tor, reduces the polarization reaction , and thus can improve
   FIG . 4 is an electronic microscope image ( 10,000 times the rate performance of the energy storage device ( such as
magnification ) of the cross section of the porous layer in the 20 a lithium - ion battery ). The porous layer may have a porosity
thickness direction in comparative example 2 .                      of 20 % to 90 % .
                                                                       The inorganic particles distributed in the pores of the
               DETAILED DESCRIPTION OF THE                          porous layer provide a good mechanical support for the
                    PREFERRED EXAMPLES                              porous layer, preventing the porous layer from compressing
                                                                 25 and collapsing during processing the energy storage device
   Exemplary examples will be described in details . While ( such as a lithium - ion battery ), and preventing the porous
these exemplary examples may be implemented in various layer from being compressed and destroyed . Inorganic par
forms, the applicationshould not be construed as limited to ticles refer to a class of inorganicmaterials obtained from
the examples of the application set forth herein . Rather, natural or synthetic compounds through the process of
these examples are provided with the purpose of making the 30 shaping and high -temperature sintering or the like . The
disclosure of the application thorough and complete and inorganic particles are one or more selected from the group
fully conveying the scope of the application to those skilled consisting of alumina , silica , magnesia, titanium oxide ,
in the art.                                                         hafnium dioxide , tin oxide , zirconia , cerium dioxide , nickel
  A separator and a preparation method thereof as well as an        oxide, zinc oxide , calcium oxide, boehmite, aluminum
energy storage device according to the present application 35 hydroxide, magnesium hydroxide, calcium hydroxide, and
will be described in details hereinafter.                         barium sulfate. The inorganic particles may contain polar
   In a first aspect of the application , the separator comprises functional groups such as a hydroxyl group . The surface of
a porous substrate and a porous layer. The porous layer is the inorganic particles containing polar functional groups
arranged on a surface of the porous substrate . Specifically, can be more easily combined with the non - solvent (third
the porous layer is arranged on one surface of the porous 40 solvent) in the coagulating solution in the preparation pro
substrate , or the porous layer is arranged on both surfaces of cess , which facilitates the diffusion of the non - solvent ( third
the porous substrate, or the porous layer is arranged on part solvent) into the porous layer along the surface of the
of the surface of the porous substrate . The porous substrate inorganic particles so that larger pores are formed in the
comprises a polymer film , a multilayer polymer film , or a vicinity of the inorganic particles, and the rate performance
non- woven fabric formed of any one or more of the follow- 45 of the energy storage device ( such as a lithium - ion battery )
ing polymers: polyethylene, polypropylene, polyethylene is thereby improved . The non - solvent (third solvent) in the
terephthalate, polyphthaloyl diamine, polybutylene tereph- coagulating solution will be described below.
thalate, polyester, polyacetal, polyamide, polyimide,               In an example of the present application , the volume ratio
polyetheretherketone, polyaryletherketone, polyetherimide, of the inorganic particles to the binder in the porous layer is
polyamide imide , polybenzimidazole , polyethersulfone, 50 in a range from 0.2 to 3.0 . An exchange between the first
polyphenylene oxide , cycloolefin copolymer, polyphenylene solvent in the coating solution and the third solvent in the
sulfide , and polyethylene naphthalene. The above-men- coagulating solution can be increased by increasing the
tioned polyethylene is at least one component selected from volume ratio of the inorganic particles to the binder, and the
the group consisting of high density polyethylene, low porosity of the porous layer is increased ; conversely, if the
density polyethylene, and ultrahigh molecular weight poly- 55 volume ratio of the inorganic particles to the binder is
ethylene.                                                         reduced, the porosity of the porous layer will be decreased .
   In an example of the application, the porous layer If the volume ratio of the inorganic particles to the binder is
arranged on the porous substrate comprises a binder and too low , the average pore size of the porous layer will be
inorganic particles. The porous layer has pores formed by decreased, and the porosity of the porous layer will be
the binder, and the pores at least comprises a part of the 60 decreased ; moreover, if the content of inorganic particles is
inorganic particles. A ratio of Dv90 of the inorganic particles decreased, the mechanical strength and heat resistance of the
to the thickness of the porous layer is in a range from 0.3 to porous layer is decreased . If the volume ratio of the inor
3.0 . The Dv90 of the inorganic particles refers to a particle ganic particles to the binder is too high, the adhesive force
size which reaches 90% the cumulative volume from the               of the porous layer will be reduced, and the porous layer is
side of small particle size in the granularity distribution on 65 easily detached from the surface of the porous substrate,
a volume basis . The binder is one or more selected from the resulting in deterioration of the safety performance of the
group consisting of polyvinylidene fluoride, vinylidene fluo- energy storage device ( such as a lithium - ion battery ).
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   The porous layer has a thickness of 0.2 um to 10 um . If         from the group consisting of N -methylpyrrolidone (NMP),
the thickness of the porous layer is too high , the gas             dimethylacetamide (DMAC ) and dimethylformamide
permeability of the porous layer will be deteriorated , and the     ( DMF ) . The porous layer formed using N -methylpyrroli
rate performance of the energy storage device ( such as a           done (NMP ) has the largest average pore size and the highest
lithium - ion battery ) will be decreased . If the thickness of the 5 porosity ; the porous layer formed using dimethylformamide
porous layer is too low, the adhesive force of the porous (DMF ) has the smallest average pore size and the lowest
layer will be reduced , a gap will easily occur between the porosity ; and the porous layer formed using dimethylacet
separator and the electrode, and the hardness of the energy
storage device ( such as a lithium -ion battery ) will be amide (DMAC ) has an average pore size and a porosity
                                                                     between those of the porous layer formed using N -meth
decreased, resulting in deterioration of the safety perfor- 10 ylpyrrolidone          (NMP ) and the porous layer formed using
mance of the energy storage device ( such as a lithium - ion dimethylformamide              (DMF ) . The temperature of the coating
battery ).
    In addition , in an example of the present application , degrees solution may be in a range from 15 degrees Celsius to 30
pores having a larger average pore size can be obtained by                      Celsius . The solid content of the coating solution
controlling the ratio of Dv90 of the inorganic particles to the 15 may      be in a range from 7% to 25% . Within this range, if the
thickness of the porous layer. In the electrolyte environment, solid content of the coating solution is increased , the vis
after the binder ( such as polyvinylidene fluoride) in the cosity of the coating solution is increased , the exchange rate
porous layer swells , more through -holes can be retained , between the third solvent in the coagulating solution and the
which avoids swelling and pore blockage , ensures a channel first solvent in the coating solution becomes lower, and the
for ion transportation, reduces polarization reactions, and 20 average pore size and porosity of the formed porous layer
improves the rate performance of the energy storage device are reduced ; conversely, if the solid content of the coating
( such as a lithium - ion battery ). The Dv90 of the inorganic solution is reduced, the average pore size and porosity of the
particles refers to a particle size which reaches 90 % the porous layer are increased . However, if the solid content of
cumulative volume from the side of small particle size in the the coating solution is too high and exceeds this range, the
granularity distribution on a volume basis .                      25 gas permeability of the porous layer does not meet the
    In some examples of the present application , the ratio of requirements and cannot satisfy the use for an energy storage
the Dv90 of the inorganic particles to the thickness of the device ( such as a lithium - ion battery ). If the solid content of
porous layer is in a range from 0.4 to 1.5 . By increasing the the coating solution is too low, which is below this range, the
ratio of Dv90 of the inorganic particles to the thickness of strength of the porous layer is decreased , and it is difficult to
the porous layer, the mechanical strength of the porous layer 30 form a film on the surface of the porous substrate .
is increased , and the porous layer is prevented from under-           Next , the coating solution is uniformly coated on the
going pore blockage due to compression in the preparation surface of the porous substrate to form a wet film . The
or cycle process of the energy storage device ( such as a coating method of the coating solution is dip coating .
lithium - ion battery ), thereby increasing the rate performance Meanwhile, any other suitable coating process may also be
of the energy storage device ( such as a lithium - ion battery ). 35 used .
Conversely, the mechanical properties of the porous layer              Thereafter, the porous substrate with the wet film is
may be reduced by reducing the ratio of Dv90 of inorganic immersed into a coagulating solution for phase transforma
particles to the thickness of the porous layer, leading to pore tion , wherein the coagulating solution may include a second
blockage of the porous layer due to compression in the solvent and a third solvent, and the second solvent and the
preparation and cycle processes of the energy storage device 40 third solvent are soluble with each other. The second solvent
( such as a lithium - ion battery ), and the rate performance of is one or more selected from the group consisting of N -meth
the energy storage device ( such as a lithium - ion battery ) is ylpyrrolidone ( NMP ) , dimethylacetamide (DMAC ) and
reduced . In addition , if the ratio of the Dv90 of the inorganic dimethylformamide ( DMF ) , and the third solvent is one or
particles to the thickness of the porous layer is too high , the more selected from the group consisting of deionized water,
pore size distribution of the porous layer tends to be non- 45 ethanol, propanol , acetone , dimethyl carbonate, and diethyl
uniform , resulting in a non - uniform surface of the porous carbonate. The mass percentage of the second solvent in the
layer, which further makes the porous layer easy to detach coagulating solution may be in a range from 20 % to 60 % .
from the surface of the porous substrate and forms defects in The average pore size and porosity of the porous layer can
the energy storage device ( such as a lithium - ion battery ). be increased by decreasing the content of the second solvent
Moreover, if the ratio of Dv90 of the inorganic particles to 50 in the coagulating solution . However, if the content of the
the thickness of the porous layer is too high, the adhesive second solvent is too low, a dense surface film may be
force of the porous layer is reduced, affecting the safety formed on the surface of the porous layer that is away from
performance of the energy storage device ( such as a lithium- the porous substrate , resulting in deterioration of the gas
ion battery ). If the ratio of Dv90 of the inorganic particles to permeability of the porous layer. If the content of the second
the thickness of the porous layer is too low, the inorganic 55 solvent is too high, complete pores cannot be formed , or the
particles cannot be effectively exposed on the surface of the formed porous layer has a very low average pore size . The
porous layer, which does not facilitate an exchange between temperature of the coagulating solution may be in a range
the first solvent in the coating solution and the third solvent from 15 degrees Celsius to 30 degrees Celsius . The period
in the coagulating solution in the preparation of the porous for phase transformation may be in a range from 10 s to 90
layer, therefore cannot enhance diffusion, and is not advan- 60 S.
tageous for the development of the pores .                             Finally , after the completion of the phase transformation ,
   The method for preparing the separator according to the the wet film is dried to obtain a separator, wherein a porous
present application is described below . Firstly, the inorganic layer is arranged on the surface of the porous substrate, and
particles are mixed with the binder, and then the first solvent inorganic particles are distributed in the pores of the porous
is added into the mixture and the mixture is stirred to obtain 65 layer. The drying temperature may be in a range from 60
a uniform coating solution , wherein the binder dissolves in degrees Celsius to 70 degrees Celsius , and the drying period
the first solvent. The first solvent is one or more selected        may be in a range from 10 minutes to 40 minutes .
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    According to some examples of the present application , a (Cu ) , zinc (Zn) , molybdenum (Mo ) , tin ( Sn ), calcium ( Ca) ,
porous layer is prepared based on a phase transformation strontium (Sr), and tungsten ( W) , and the values of z , g and
( i.e. , non - solvent induced phase separation , NIPS ) principle, h are respectively within the following ranges: 0.8szs1.2 ,
wherein the first solvent in the coating solution is an organic Osgs1.0 , and -0.2shs0.2 .
solvent, and the binder ( such as PVDF) can be dissolved in 5 The negative electrode comprises a negative electrode
the first solvent. The coagulating solution contains a third material capable of intercalation and deintercalation of
solvent (deionized water) , and the binder is insoluble in the lithium (Li ) (hereinafter, sometimes referred to as “ negative
third solvent (deionized water) . Therefore, after the coating electrode material capable of intercalation / deintercalation of
solution is coated on the porous substrate and then immersed lithium (Li )" ). Examples of the negative electrode material
into the coagulating solution , the first solvent in the coating 10 capable of intercalation /deintercalation of lithium (Li ) may
solution is extracted into the third solvent (deionized water ) include a carbon material, a metal compound, an oxide, a
in the coagulating solution, and the binder in the coating sulfide, a nitride of lithium such as LiN3 , lithium metal, a
solution is solidified and precipitate to form a porous layer. metal which formed an alloy with lithium , and a polymer
    An energy storage device including the above -described material.
separator is further provided according to the present appli- 15 Examples of carbon materials may include low graphi
cation, such as a lithium - ion battery. In the application , the tized carbon , easily graphitized carbon , artificial graphite,
lithium - ion battery is only an illustrative example of the natural graphite, mesocarbon microbeads, soft carbon, hard
energy storage device , and the energy storage device may carbon, pyrolytic carbon , coke, glassy carbon, organic poly
also comprise other suitable devices . The lithium - ion battery mer compound sintered body, carbon fiber and active car
further comprises a positive electrode, a negative electrode, 20 bon . Coke may include pitch coke, needle coke , and petro
and an electrolyte, and the separator of the present applica- leum coke . The organic polymer compound sintered body
tion is placed between the positive electrode and the nega- refers to materials obtained by calcining and carbonizing a
tive electrode. The positive current collector may be alumi- polymer material such as a phenol plastic or a furan resin at
num foil or nickel foil, and the negative current collector a suitable temperature and, and some of these materials are
may be copper foil or nickel foil.                               25 classified into low graphitized carbon or easily graphitized
   In the lithium - ion battery described above , the positive carbon . Examples of polymeric materials may include poly
electrode comprises a positive electrode material capable of acetylene and polypyrrole .
intercalation and deintercalation of lithium ( Li ) (hereinafter       Among these negative electrode materials capable of
sometimes referred to as “ positive electrode material intercalation /deintercalation of lithium ( Li ) , further, materi
capable of intercalation / deintercalation of lithium (Li) ” ). 30 als whose charge and discharge voltages are close to the
Examples of the positive electrode material capable of charge and discharge voltages of lithium metal are selected .
intercalation /deintercalation of lithium ( Li ) may include one This is because of the fact that the lower the charge and
or more of lithium cobaltate , lithium nickel cobalt mangan- discharge voltages of the negative electrode material are , the
ate , lithium nickel cobalt aluminate , lithium manganate , more easily the battery can have a higher energy density. The
lithium iron manganese phosphate, lithium vanadium phos- 35 carbon material can be selected as the negative electrode
phate, lithium vanadium oxide phosphate, lithium iron phos- material, since the crystal structure of the carbon material
phate, lithium titanate, and lithium - rich manganese -based has only small changes during charging and discharging.
materials .                                                            Therefore, good cycle characteristics and high charge and
   In the above -mentioned positive electrode material, the discharge capacities can be obtained . In particular, graphite
chemical formula of lithium cobaltate may be expressed as 40 can be selected, since it can provide a high electrochemical
Li Co ,M1,02-c, wherein M1 represents at least one selected equivalent and energy density.
from the group consisting of nickel (Ni), manganese (Mn ),               In addition, the negative electrode material capable of
magnesium (Mg) , aluminum (Al ) , boron (B ) , titanium ( Ti ), intercalation / deintercalation of lithium (Li ) may include
vanadium (V) , chromium ( Cr ), ferrum ( Fe) , copper ( Cu ) , elemental lithium metal , metal elements and semi-metal
zinc (Zn) , molybdenum ( Mo ) , tin ( Sn ), calcium ( Ca ) , stron- 45 elements capable of forming an alloy together with lithium
tium ( Sr ), tungsten (W ) , yttrium (Y) , lanthanum (La) , zir- (Li ) , alloys and compounds including such elements, etc. In
conium (Zr), and silicon ( Si ) , and the values of x , a , b , and particular, they are used together with the carbon material,
c are respectively within the following ranges: 0.8sxs1.2 , since good cycle characteristics and high energy density can
0.8sasl, Osbs0.2 , -0.1scs0.2 .                                        be obtained in this case . In addition to alloys comprising two
   In the above -mentioned positive electrode material, the 50 or more metal elements, alloys used herein further include
chemical formula of lithium nickel cobalt manganate or alloys comprising one or more metal elements and one or
lithium nickel cobalt aluminate may be expressed as more semi-metal elements . The alloys may be in the fol
Li, Ni M2,02-19
         ,         wherein M2 represents at least one selected lowing forms of solid solutions , eutectic crystals ( eutectic
from the group consisting of cobalt (Co ), manganese (Mn ), mixtures ), intermetallic compounds, and mixtures thereof.
magnesium (Mg) , aluminum (Al ) , boron (B ) , titanium ( Ti ), 55 Examples of metal elements and semi-metal elements
vanadium (V ) , chromium ( Cr ), ferrum ( Fe) , copper ( Cu ) , may include tin ( Sn ), lead ( Pb ), aluminum (Al ) , indium ( In ),
zinc ( Zn ) , molybdenum (Mo ), tin ( Sn ) , calcium ( Ca ) , silicon ( Si ) , zinc (Zn ), antimony ( Sb ) , bismuth (Bi ) , cad
yttrium ( Sr ), tungsten (W ) , zirconium ( Zr ), and silicon ( Si ) , mium ( Cd ) , magnesium ( Mg ) , boron ( B ) , gallium (Ga ),
and the values of y , d , e , and f are respectively within the germanium ( Ge) , arsenic (As ) , silver ( Ag ), zirconium ( Zr ),
following     ranges: 0.8sys1.2 , 0.3sds0.98 , 0.02ses0.7 , 60 yttrium ( Y ), and hafnium (Hf). Examples of the above
-0.1sfs0.2 .                                                           described alloys and compounds may include a material
   In the above -mentioned positive electrode material, the expressed as a chemical formula : Ma Mb,Li, and a material
chemical formula of lithium manganate is expressed as expressed as a chemical formula: Ma,Mc Md . In these
Li,Mn2- M3,044 - h , wherein M3 represents at least one chemical formulas, Ma represents at least one of metal
selected from the group consisting of cobalt (Co ) , nickel 65 elements and semi-metal elements capable of forming alloys
(Ni ) , magnesium ( Mg ) , aluminum (Al ) , boron ( B ) , titanium with lithium , Mb represents at least one of these metal
( Ti ), vanadium ( V ), chromium (Cr) , ferrum ( Fe) , copper        elements and semi-metal elements other than lithium and
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                             9                                                                        10
Ma , Mc represents at least one of the non- metal elements ,          Since the separator is wound or stacked together with the
Md represents at least one of these metal elements and             positive electrode and the negative electrode, in a case that
semi-metal elements other than Ma , and s , t , u , p , q, and r   the above - described porous layer is formed on the surface of
satisfy s > 0 , t70 , uz0 , p > 0, q > 0 , and r20, respectively . the positive electrode or the negative electrode, a corre
   In addition, an inorganic compound that does not include 5 sponding technical effect can also be achieved .
lithium (Li ) may be used in the negative electrode, such as          Some specific examples and comparable examples are
MnO2, V2O5 , V6013 , Nis , and MoS .                               listed below to better illustrate this application. In the
   The lithium - ion battery described above further com- following examples, reagents , materials, and instruments
prises an electrolyte , which may be one or more of a gel 10 used are commercially available unless otherwise specified .
electrolyte, a solid electrolyte , and an electrolyte . The elec- Some of the parameters used in the examples and compara
trolyte comprises a lithium salt and a non - aqueous solvent. tive examples are shown in Table 1 below .
   The lithium salt is one or more selected from the group
consisting of LiPF , LiBF4 , LiAsF6 , LiC104, LiB ( CH3 ) 4 ,                          Comparative Example 1
LiCH2SO3 , LiCF2SO3 , LiN (SO2CF3 ) , LiC ( SO2CF3 ) 3 , 15
LiSiF6 , LiBOB , and lithium difluoborate. For example,               ( 1 ) Preparation of Negative Electrode
LiPF , is used as a lithium salt , since it can provide high ionic    The negative electrode active material ( artificial graphite ),
conductivity and improve cycle performance .                       the binder ( styrene butadiene rubber ), and the conductive
   The non -aqueous solvent may be a carbonate compound , agent ( conductive carbon black ( Super P ) ) are mixed uni
a carboxylic acid ester compound, an ether compound, other 20 formly with the solvent ( deionized water) at a mass ratio of
organic solvents or combinations thereof.                         92 : 3 : 5 to prepare a negative electrode slurry , then the
   The carbonate compound may be a chain carbonate negative electrode slurry is coated uniformly on both sides
compound , a cyclic carbonate compound, a fluorinated of the negative electrode current collector (copper foil ), then
carbonate compound or combinations thereof.                       a negative electrode active material layer is formed by
   Examples of chain carbonate compounds include diethyl 25 drying the coated negative electrode current collector (cop
carbonate (DEC ) , dimethyl carbonate ( DMC ) , dipropyl car- per foil) at 85 degrees Celsius , then cold pressing , slitting
bonate (DPC ) , methylpropyl carbonate (MPC ) , ethyl propyl and cutting processes are performed and a negative electrode
carbonate ( EPC ) , methyl ethyl carbonate (MEC ) and com- tab is welded so as to obtain a negative electrode .
binations thereof. Examples of the cyclic carbonate com-             ( 2 ) Preparation of Positive Electrode
pounds include ethylene carbonate (EC ) , propylene carbon- 30 The positive electrode active material ( lithium cobaltate
ate ( PC ) , butylene carbonate ( BC ) , vinyl ethylene carbonate (LiCo02 ) ) , the binder (polyvinylidene fluoride (PVDF ) ) , the
(VEC ) , and combinations thereof. Examples of the fluoro- conductive agent ( conductive carbon black ( Super P ) ) are
carbonate compound include fluoroethylene carbonate dissolved in the solvent N -methylpyrrolidone (NMP) in a
( FEC ) , 1,2 -difluoroethylene carbonate , 1,1 -difluoroethylene mass ratio of 97 : 1.5 : 1.5 . A positive electrode slurry is
carbonate, 1,1,2 - trifluoroethylene carbonate, 1,1,2,2 - tet- 35 prepared by uniformly stirring the mixture, then the positive
rafluoroethylene carbonate, 1 - fluoro - 2 -methylethyl carbon- electrode slurry is coated uniformly on both sides of the
ate , 1 - fluoro - 1 -methyl - ethylene carbonate , 1,2 -difluoro - 1- positive electrode current collector ( aluminum foil ), then a
methylethylene carbonate, 1,1,2 - trifluoro - 2 -methylethyl positive electrode active material layer is formed by drying
carbonate, trifluoromethyl ethylene carbonate , and combi- the coated positive electrode current collector ( aluminum
nations thereof.                                                      40 foil) at 85 degrees Celsius , and then cold pressing, slitting ,
   Examples of carboxylic acid ester compounds include cutting processes are performed and a positive electrode tab
methyl acetate , ethyl acetate , n - propyl acetate , tert -butyl is welded so as to obtain a positive electrode.
acetate , methyl propionate , ethyl propionate, y-butyrolac-                ( 3 ) Preparation of Separator
tone , decanolactone, valerolactone, mevalonolactone,                       Boehmite is mixed with the binder ( polyvinylidene fluo
caprolactone, methyl formate , and combinations thereof. 45 ride ), then the solvent N -methylpyrrolidone is added and the
   Examples of ether compounds include dibutyl ether, tet- mixture is uniformly stirred to obtain a coating solution , and
raethylene glycol dimethyl ether, diethylene glycol dimethyl the volume ratio of the inorganic particles to the binder is
ether, 1,2 -dimethoxyethane, 1,2 -diethoxyethane, ethoxy 0.8 . The coating solution is coated on the porous substrate
methoxy ethane, 2 -methyltetrahydrofuran, tetrahydrofuran , ( polyethylene ) by means of dip coating to form a wet film .
and combinations thereof.                                       50 The porous substrate ( polyethylene) with the wet film is
   Examples of other organic solvents include dimethyl immersed into the coagulating solution containing deionized
sulfoxide, 1,2 -dioxolane, sulfolane, methyl sulfolane, 1,3- water ( third solvent) and N -methylpyrrolidone ( second sol
dimethyl - 2 -imidazolidinone, N -methyl - 2 -pyrrolidone, for- vent) for phase transformation , with both the coating solu
mamide , dimethylformamide, acetonitrile, trimethyl phos- tion and the coagulating solution being at a temperature of
phate, triethyl phosphate, trioctyl phosphate, phosphate 55 25 degrees Celsius . After being immersed in the coagulating
esters, and combinations thereof.                                  solution for 30 seconds , the porous substrate ( polyethylene)
   The positive electrode, the separator and the negative with the wet film is dried in an oven at 60 degrees Celsius
electrode are sequentially wound, stacked or folded into an to obtain a separator with a porous layer. The mass content
electrode assembly , which is then placed into a packaging of N -methylpyrrolidone ( second solvent) in the coagulating
shell ( for example, an aluminum plastic film ), an electrolyte 60 solution is 40 % . The ratio of Dv90 of the inorganic particles
is injected, and the chemical conversion and packaging in the porous layer to the thickness of the porous layer is 0.2 .
processes are performed to prepare a lithium - ion battery .          ( 4 ) Preparation of Electrolyte
   It should be understood by those skilled in the art that the      A solution prepared with lithium salt LiPF , and a non
above - described method for preparing a lithium - ion battery aqueous organic solvent ( ethylene carbonate ( EC ) :diethyl
is only an example . Other methods commonly used in the art 65 carbonate (DEC ) : ethyl methyl carbonate ( EMC ) :vinylene
can be used without departing from the disclosure of the carbonate (VC ) = 8 :85 : 5 : 2, by a mass ratio ) by a mass ratio of
present application .                                              8:92 is used as the electrolyte of the lithium - ion battery.
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  ( 5 ) Preparation of Lithium - Ion Battery                                                 Example 7
  An electrode assembly is obtained by winding the positive
electrode, the separator, and the negative electrode, and then   The preparation method is the same as that of comparative
sealing, injection of the electrolyte, forming, and suction example 1 , except that the ratio of the Dv90 of the inorganic
molding processes are performed to obtain the lithium - ion 5 particles in the porous layer to the thickness of the porous
battery.                                                             layer is 3.0 in Example 7 .
                  Comparative Example 2                                                      Example 8
   The preparation method is the same as that of comparative 10 The preparation method is the same as that of comparative
example 1 , except that the ratio of the Dv90 of the inorganic example 1 , except that the ratio of the Dv90 of the inorganic
particles in the porous layer to the thickness of the porous particles in the porous layer to the thickness of the porous
layer is 3.2 in comparative example 2. As can be seen in layer is 0.8 , and the volume ratio of the inorganic particles
FIGS . 3-4 , FIG . 3 is an electronic microscope image (3000 15 to the binder is 0.2 in Example 8 .
times magnification ) of pores of a lower surface of the
porous layer in comparative example 2 , FIG . 4 is an elec                               Example 9
tronic microscope image ( 10,000 times magnification ) of the
cross section of the porous layer in the thickness direction in    The preparation method is the same as that of comparative
comparative example 2 .                                         20 example 1 , except that the ratio of the Dv90 of the inorganic
                                                                   particles in the porous layer to the thickness of the porous
                           Example 1                               layer is 0.8 , and the volume ratio of the inorganic particles
                                                                   to the binder is 0.5 in Example 9 .
   The preparation method is the same as that of comparative                                  Example 10
example 1 , except that the ratio of the Dv90 of the inorganic 25
particles in the porous layer to the thickness of the porous          The preparation method is the same as that of comparative
layer is 0.3 in Example 1 .                                        example 1 , except that the ratio of the Dv90 of the inorganic
                           Example 2                               particles in the porous layer to the thickness of the porous
                                                                30 layer is 0.8 , and the volume ratio of the inorganic particles
   The preparation method is the same as that of comparative to the binder is 1.2 in Example 10 .
example 1 , except that the ratio of the Dv90 of the inorganic                                Example 11
particles in the porous layer to the thickness of the porous
layer is 0.5 in Example 2 .                                           The preparation method is the same as that of comparative
                                                                35
                           Example 3                               example   1 , except that the ratio of the Dv90 of the inorganic
                                                                   particles in the porous layer to the thickness of the porous
                                                                   layer is 0.8 , and the volume ratio of the inorganic particles
   The preparation method is the same as that of comparative to the binder is 2 in Example 11 .
example 1 , except that the ratio of the Dv90 of the inorganic
particles in the porous layer to the thickness of the porous 40                               Example 12
layer is 0.8 in Example 3. As can be seen in FIGS . 1-2 , FIG .
1 is an electronic microscope image ( 3000 times magnifi              The preparation method is the same as that of comparative
cation ) of pores of a lower surface of the porous layer in example 1 , except that the ratio of the Dv90 of the inorganic
example 3 , FIG . 2 is an electronic microscope image ( 10,000 particles in the porous layer to the thickness of the porous
times magnification) of the cross section of the porous layer 45 layer is 0.8 , and the volume ratio of the inorganic particles
in the thickness direction in example 3 .                          to the binder is 3 in Example 12 .
                           Example 4                                                          Example 13
   The preparation method is the same as that of comparative 50 The preparation method is the same as that of comparative
example 1 , except that the ratio of the Dv90 of the inorganic example 1 , except that the inorganic particles used in
particles in the porous layer to the thickness of the porous Example 13 are alumina , and the ratio of the Dv90 of the
layer is 1.0 in Example 4 .                                        inorganic particles in the porous layer to the thickness of the
                                                                   porous  layer is 0.8 in Example 13 .
                           Example 5                            55
                                                                                              Example 14
   The preparation method is the same as that of comparative
example 1 , except that the ratio of the Dv90 of the inorganic        The preparation method is the same as that of comparative
particles in the porous layer to the thickness of the porous example 1 , except that the inorganic particles used in
layer is 1.5 in Example 5 .                                     60 Example 14 are magnesium hydroxide, and the ratio of the
                                                                   Dv90 of the inorganic particles in the porous layer to the
                           Example 6                               thickness of the porous layer is 0.8 in Example 14 .
   The preparation method is the same as that of comparative                                  Example 15
example 1 , except that the ratio of the Dv90 of the inorganic 65
particles in the porous layer to the thickness of the porous          The preparation method is the same as that of comparative
layer is 2.0 in Example 6 .                                        example 1 , except that the inorganic particles used in
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                                 13                                                                        14
Example 15 are titanium oxide , and the ratio of the Dv90 of                is measured . Then, the true volume V2 of the porous layer
the inorganic particles in the porous layer to the thickness of             is equal to V2 = V20 - VO , and the porosity of the porous layer
the porous layer is 0.8 in Example 15 .                                     is equal to 1 - V2 /V1 .
                                           TABLE 1
                                           Ratio of the Dv90
                                            of the inorganic Volume ratio Coagulating solution
               Solid content   Types of     particles to the of the inorganic      content of
              in the coating   inorganic    thickness of the   particles to second second
                    solution   particles     porous layer      the binder     solvent   solvent
Example 1            15 %       boehmite          0.3             0.8          NMP       40 %
Example 2            15 %       boehmite          0.5             0.8          NMP       40 %
Example 3            15 %       boehmite          0.8             0.8          NMP       40 %
Example 4            15 %       boehmite          1.0             0.8          NMP       40 %
Example 5            15 %       boehmite          1.5             0.8          NMP       40 %
Example 6            15 %       boehmite          2.0             0.8          NMP       40 %
Example 7            15 %       boehmite          3.0             0.8          NMP       40 %
Example 8            15 %       boehmite          0.8             0.2          NMP       40 %
Example 9            15 %       boehmite          0.8             0.5          NMP       40 %
Example 3            15 %      boehmite           0.8             0.8          NMP       40 %
Example 10           15 %      boehmite           0.8             1.2          NMP       40 %
Example 11           15 %       boehmite          0.8             2            NMP       40 %
Example 12           15 %       boehmite          0.8             3            NMP       40%
Example 3            15 %       boehmite          0.8             0.8          NMP       40 %
Example 13           15 %        alumina          0.8             0.8          NMP       40 %
Example 14           15 %      magnesium          0.8             0.8          NMP       40%
                               hydroxide
Example 15            15 %      titanium          0.8             0.8          NMP       40 %
                                  oxide
Comparative           15 %      boehmite          0.2             0.8          NMP       40 %
Example 1
Comparative           15 %      boehmite          3.2             0.8          NMP       40 %
Example 2


  Next, the performances of separator and lithium - ion bat-       ( 4 ) Rate Performance Test of Lithium - Ion Battery
tery are tested .                                                 At     25 degrees Celsius , the lithium - ion battery is dis
   ( 1 ) Thickness Test of Porous Layer                      35
   Separator samples are placed on a thickness gage (Model minutes, tothen
                                                                charged      3.0 V at a constant current of 0.2 C , rested for 10
                                                                                is charged to 4.4 V at a constant current of 0.7
VL - 50 LITEMATIC from Naitutoyo company ) using a 5 C , then is charged              to 0.02 C at a constant voltage of 4.4 V ,
mm flat bottom probe with a speed of 50 mm /min and a
pressure of 0.01N . Each of the separator samples provided rested for 10 min, and is further discharged at a constant
with a porous layer is measured for 60 thickness points, and 40 current of 0.2 C until the voltage reaches 3.0 V. The
the average thickness is taken as the measured value . The                  discharge capacity at this time is measured and recorded as
thickness of the porous layer is equal to the thickness of the Q1 . Then, the lithium - ion battery is charged to 4.4V at a
separator minus the thickness of the porous substrate. In a constant current of 0.7 C , and then charged to 0.02 C at a
case that there are two porous films, the thickness is divided 45 constant voltage of 4.4 V , rested for 10 minutes, and then is
by 2 to obtain the thickness of each porous layer.                discharged at a constant current of 2 C until the voltage is 3.0
     (2 ) Gas Permeability Test of Porous Layer                   V.  The discharge capacity at this time is measured and
    A 100 mmx100 mm separator sample provided with a recorded                  as Q2 .
porous layer is cut and tested using a US Gurley 4110N
Densometers with 100 cc test gas , and the period that the test 50 2 C/ 0.2 C rate performance ( % ) of the lithium - ion battery
gas passes completely through the separator sample pro- is equal to Q2 /Q1x100 % .
vided with the porous layer is recorded as a Gurley value .          ( 5 ) Cycle Performance Test of Lithium - Ion Battery
The Gurley value of the porous layer is equal to the Gurley
value of the separator provided with the porous layer minus          At    25 degrees Celsius , the lithium - ion battery is charged
the Gurley value of the separator without the porous layer 55     to 4.4    V at a constant current of 0.7 C , then charged to 0.02
( i.e. , a pure porous substrate ).                               C at a constant voltage of 4.4 V , rested for 10 minutes, and
     (3 ) Porosity Test of Porous Layer                           discharged to 3.0 V at a constant current of 1 C , rested for
    The length , width , and thickness of a separator sample 10 minutes . The discharge capacity at this time is measured
provided with a porous layer are measured, and the thickness and recorded as Q3 . The above - described steps are regarded
of the porous layer is obtained by subtracting the thickness 60 as one cycle of charge and discharge. 200 cycles are per
of the porous substrate (polyethylene) from the thickness of formed , and the discharge capacity after 200 cycles is
the separator, and the apparent volume V1 of the porous recorded as Q4 .
layer is obtained by calculation . The true volume V20 of the        The capacity retention rate ( % ) of the lithium - ion battery
separator sample provided with the porous layer is measured
using a true density meter (AccuPyc II Model 1340 Gas 65 after 200 cycles is equal to Q4/Q3x100% .
Pycnometer, Micromeritics Company ), and the true volume             The test results of examples and comparative examples
VO of the porous substrate ( polyethylene) of the same area                 are shown in Table 2 below.
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                                 15                                                                     16
                               TABLE 2                                      binder is too low, the porosity of the porous layer is
                                                                            decreased, the gas permeability of the separator deteriorates,
                         Gurley                                             and the rate performance of the lithium - ion battery is not
              Porosity value of                               Capacity      significantly improved, which is not advantageous for the
                 of      porous Thickness 2 C / 0.2 C         retention
               porous      layer     of porous       rate     rate after 5 improvement of the rate performance and cycle perfor
                layer ( s/ 100 cc ) layer ( um ) performance 200 cycles     mance . If the ratio of the volume ratio of the inorganic
Example 1       48 %        53                     79.50%      85.70 %      particles to the binder is too high , the adhesive force of the
Example 2       50 %        42                     83.70 %     92.80 %      porous layer is reduced, gaps are easily formed between the
                                                                            separator and the electrodes , the hardness of the lithium - ion




                                      N
Example 3       52 %        30                     87.50 %     95.60 %
Example 4       53 %        28                     84.60 %     93.10 %   10 battery is reduced , and thus the rate performance and the
Example 5       54%         25                     82.50 %     91.20 %
                                                                            cycle performance are not significantly improved .
Example 6       56 %        20                     81.70 %     85.20 %
Example 7       57 %        18                     80.40 %     82.70 %         As can be seen from the comparison among Example 3
Example 8       46 %        57                     81.10 %     87.20 %      and  Examples 13-15 , the use of various inorganic particles
Example 9
Example 3
                49 %
                52 %
                            43
                            30
                                                   82.80 %
                                                   87.50 %
                                                               91.70 %
                                                               95.60 %
                                                                            can  improve   the rate performance and cycle performance of
Example 10      54 %        25                     83.10 %     91.30 %
                                                                         15 the lithium - ion battery, and the types of inorganic particles
Example 11      56 %        21                     81.50 %     88.80 %      used have less effect on the rate performance and cycle
Example 12      59 %        16                     79.70 %     83.80 %      performance of the lithium - ion battery .
Example 3      52 %         30                     87.50 %95.60 %          It should be understood by those skilled in the art that the
Example 13     50 %       43                  84.40 %     92.90 %
                                                                         above - described examples are only illustrative examples
Example 14     52 %       31                  86.90 %     94.30 %
Example 15     51 %       36                  84.10 %     91.30 %   20 and should not be construed limiting the application. The
Comparative    45 %       70                  69.80 %     70.50 %        various changes, substitutions, and alterations could be
Example 1                                                                made to the application without departing from the spirit and
Comparative    60 %       16          2       71.30 %     72.60 %
                                                                         scope of the application.
Example 2
                                                                           What is claimed is :
                                                                   1. A separator, comprising: a porous substrate; and
                                                                    25
   As can be seen from a comparison among examples 1-7             a porous layer arranged on a surface of the porous
and comparative examples 1-2 , the ratio of Dv90 of the               substrate , wherein the porous layer comprises inorganic
inorganic particles to the thickness of the porous layer has an       particles and a binder, and a ratio of Dv90 of the
effect on the rate performance and cycle performance of the           inorganic particles to the thickness of the porous layer
lithium - ion battery, and the probability of pore blockage due 30    is in a range from 0.3 to 3.0 .
to compression swelling in the porous layer can be reduced         2. The separator according to claim 1 , wherein the porous
effectively by controlling the ratio of the Dv90 of the layer has a thickness of 0.2 um to 10 um .
inorganic particles to the thickness of the porous layer to be         3. The separator according to claim wherein the pores
in a range from 0.3 to 3.0 , so that the rate performance and have an average pore size of 0.3 um to 20 um .
cycle performance of the lithium - ion battery can be effec- 35 4. The separator according to claim 1 , wherein a volume
tively improved. If the ratio of Dv90 of the inorganic ratio of the inorganic particles to the binder is in a range
particles to the thickness of the porous layer is too high ( for from 0.2 to 3.0 .
example , comparative example 2 ) , the pore size distribution         5. The separator according to claim 1 , wherein the porous
of the porous layer tends to be non - uniform , the surface of layer has a porosity of 20 % to 90% .
the porous layer is heterogeneous, the porous layer is easily 40 6. The separator according to claim 1 , wherein the inor
detached from the surface of the porous substrate, and ganic particles are one or more selected from the group
defects are formed in the energy storage device ( such as a consisting of alumina , silica , magnesia, titanium oxide ,
lithium - ion battery ), which is not advantageous for the hafnium dioxide , tin oxide , zirconia , cerium dioxide , nickel
improvement on rate performance and cycle performance. In oxide, zinc oxide , calcium oxide, boehmite, aluminum
addition , if the ratio of Dv90 of the inorganic particles to the 45 hydroxide, magnesium hydroxide, calcium hydroxide, and
thickness of the porous layer is too high, the adhesive force barium sulfate .
of the porous layer is reduced relatively, affecting the safety        7. The separator according to claim 1 , wherein the binder
performance of the energy storage device ( such as a lithium- is one or more selected from the group consisting of poly
ion battery ). If the ratio of Dv90 of the inorganic particles to vinylidene fluoride, vinylidene fluoride-hexafluoropropyl
the thickness of the porous layer is too low ( for example , 50 ene copolymer, polyamide , polyacrylonitrile, polyacrylate ,
comparative example 1 ) , the inorganic particles cannot be polyacrylic acid, polyacrylates, sodium carboxymethylcel
effectively exposed on the surface of the porous layer, which lulose , polyvinylpyrrolidone, polyvinyl ether, polymethyl
does not facilitate an exchange of the first solvent in the methacrylate , polytetrafluoroethylene and polyhexafluoro
coating solution and the third solvent in the coagulating propylene.
solution in the preparation process of the porous layer, 55 8. An energy storage device, comprising the separator
cannot enhance diffusion, is not advantageous for the devel- according to claim 1 .
opment of the pores , and is also not advantageous for the     9. The energy storage device according to claim 8 ,
improvement of the rate performance and cycle perfor- wherein the energy storage device is a lithium - ion battery.
mance .                                                             10. A method for preparing the separator of claim 1 ,
   As can be seen from the comparison among Example 3 60 wherein the method comprises steps of:
and Examples 8-12 , the volume ratio of inorganic particles         mixing inorganic particles with a binder to generate a
to the binder has an effect on the rate performance and cycle          mixture;
performance of the lithium - ion battery . An increase of the       adding a first solvent into the mixture;
volume ratio is advantageous for an exchange of the third           stirring the mixture with the first solvent to obtain a
solvent in the coagulating solution and the first solvent in the 65    uniform coating solution ; coating
coating solution and the increase of the porosity of the            the uniform coating solution onto a surface of a porous
porous layer. If the volume ratio of inorganic particles to the               substrate to form a wet film ;
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                             17                                                                  18
   the coating solution is in a range from 7 % to 25 % ; and polyetheretherketone , polyaryletherketone, polyetherimide,
   wherein a ratio of Dv90 of the inorganic particles to the polyamide imide , polybenzimidazole , polyethersulfone,
       thickness of the porous layer is in a range from 0.3 to polyphenylene oxide, cycloolefin copolymer, polyphenylene
       3.0 .                                                       sulfide, and polyethylene naphthalene.
    11. The method according to claim 10 , wherein the solid 5 15. The method according to claim 14 , wherein the
content in the coating solution is in a range from 7 % to 25 % . polyethylene is at least one selected from the group con
    12. The method according to claim 10 , wherein the sisting of high density polyethylene, low density polyethyl
coagulating solution comprises a second solvent and a third ene, and ultrahigh molecular weight polyethylene.
solvent, and the second solvent has a mass percentage of              16. The method according to claim 12 , wherein the second
20 % to 60 % .                                                  10
                                                                   solvent    is one or more independently selected from the
    13. The method according to claim 10 , wherein the first group consisting            of N -methylpyrrolidone, dimethylacet
solvent is one or more independently selected from the amide and dimethylformamide                   , and the third solvent is one
group consisting of N -methylpyrrolidone , dimethylacet
amide and dimethylformamide.                                       or  more    selected  from the  group  consisting of deionized
   14. The method according to claim 10, wherein the porous 15 water      , ethanol, propanol , acetone , dimethyl   carbonate and
substrate comprises a polymer film , a multilayer polymer diethyl            carbonate .
                                                                      17. The separator according to claim 1 , wherein the
film , or a non - woven fabric formed by any one or more of porous          layer has pores formed by the binder, at least a part
the following polymers : polyethylene, polypropylene, poly of the inorganic           particles are embedded in the pores.
ethylene terephthalate , polyphthaloyl diamine , polybutylene
terephthalate , polyester, polyacetal , polyamide, polyimide,
